                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                        )
                                                 )        Case No. 1:15-cr-91
 v.                                              )
                                                 )        Judge Travis R. McDonough
 RAY FOSTER                                      )
                                                 )        Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER



           Defendant Ray Foster has moved to suppress certain statements made to law

 enforcement. (Doc. 139.) In supplemental briefing, Defendant also argued that the Court should

 suppress certain evidence obtained from his residence, pickup truck, and camper. (Doc. 332.)

 Magistrate Judge Susan K. Lee held a hearing on the motion and filed a report and

 recommendation (“R&R”), recommending that the Court deny Defendant’s motion to suppress.

 (Doc. 341.) Defendant timely objected to the R&R.1 (Doc. 350.) The Court has conducted a de

 novo review of the record as it relates to Defendant’s objections, and for the reasons stated

 hereafter, will: (1) OVERRULE Defendant’s objections to the R&R; (2) ACCEPT and

 ADOPT the R&R; and (3) DENY Defendant’s motion to suppress (Doc. 139).

      I.   STANDARD OF REVIEW

           This Court must conduct a de novo review of those portions of the R&R to which

 objections are made. 28 U.S.C. § 636(b)(1)(C). De novo review does not, however, require the

 district court to rehear witnesses whose testimony has been evaluated by the magistrate judge.

 See United States v. Raddatz, 447 U.S. 667, 675–76 (1980). The magistrate judge, as the

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     The Government did not file a response to Defendant’s objections.


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 factfinder, has the opportunity to observe and hear the witnesses and assess their demeanor,

 putting her in the best position to determine credibility. Moss v. Hofbauer, 286 F.3d 851, 868

 (6th Cir. 2002); United States v. Hill, 195 F.3d 258, 264–65 (6th Cir. 1999). A magistrate

 judge’s assessment of witnesses’ testimony is therefore entitled to deference. United States v.

 Irorere, 69 F. App’x 231, 236 (6th Cir. 2003); see also United States v. Navarro-Camacho, 186

 F.3d 701, 705 (6th Cir. 1999).

  II.    BACKGROUND

         On August 25, 2015, a grand jury returned a thirty-two-count indictment that charged

 fourteen individuals. (Doc. 1.) The Indictment specifically charged Defendant with conspiracy

 to distribute and possess with the intent to distribute methamphetamine and possession of

 methamphetamine with the intent to distribute. (Id.) On February 18, 2016, Defendant filed a

 motion to suppress certain statements he made to law enforcement. (Doc. 139.) Defendant

 argues that incriminating statements he made to law enforcement were obtained in violation of

 his Fifth Amendment right against self-incrimination and his Sixth Amendment right to counsel.

 (Id. at 2.) Defendant also argues the statements should be suppressed because law enforcement

 failed to warn him of his Miranda rights, and because his statements were not made voluntarily.

 (Id.)

         On September 13, 2016, Magistrate Judge Lee held an evidentiary hearing on

 Defendant’s motion to suppress. (See Doc. 326.) At the evidentiary hearing, Magistrate Judge

 Lee heard testimony from: (1) Tennessee Bureau of Investigation Special Agent Bryan

 Freeman; (2) Tenth Judicial District Drug Task Force Agent Clay Moore; and (3) Defendant.

 (Id.) At the evidentiary hearing, Defendant orally modified his motion to suppress, additionally

 seeking suppression of evidence found during a warrantless search of his residence because his




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 consent to search was not knowing and voluntary and, even if it was, the search of the camper

 and truck parked at his residence exceeded the scope of his consent. (Doc. 341, at 1–2.) The

 parties also submitted post-hearing supplemental briefing regarding Defendant’s motion. (Docs.

 330, 332.)

        On September 28, 2016, Magistrate Judge Lee entered her R&R, recommending that the

 Court deny Defendant’s motion to suppress. (Doc. 341.) On October 11, 2016, Defendant filed

 objections to the R&R. (Doc. 350.) Defendant did not object to the basic facts outlined in

 Magistrate Judge Lee’s R&R, but did object to the findings and legal conclusions related to those

 facts. (See id.) After reviewing the record before the Court and finding the facts to be consistent

 with Magistrate Judge Lee’s R&R, the Court ADOPTS BY REFERENCE the facts as set out in

 the R&R.2 (Doc. 341, at 2–12.) See, e.g., United States v. Winters, 782 F.3d 289, 295 n.1 (6th

 Cir. 2013). Defendant’s objections to Magistrate Judge Lee’s R&R are now ripe for review.

 III.   ANALYSIS

        Defendant asserts three objections to Magistrate Judge Lee’s R&R. Specifically,

 Defendant objects to Magistrate Judge’s Lee’s findings that: (1) Defendant knowingly and

 voluntarily gave consent to search his residence; (2) law enforcement did not exceed the

 permissible scope of Defendant’s consent to search; and (3) Defendant’s statements to law

 enforcement were voluntarily given. (Doc. 350, at 4–10.)

                A. Defendant’s Consent to Search His Residence

        Defendant objects to Magistrate Judge Lee’s finding that he knowingly and voluntarily

 consented to law enforcement’s search of his residence on July 31, 2014. (Id. at 4–5.)

 Defendant specifically argues that his consent to search was not voluntary because his parole

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  The Court notes that neither party provided it with a copy of the transcript from the September
 13, 2016 evidentiary hearing before Magistrate Judge Lee.


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 officer appeared at his residence with other law enforcement agents and because he feared that

 his parole would be revoked if he refused to allow them to search his residence. (Id. at 5.)

 Defendant further argues that he “only consented to the search because he had previously

 consented to government searches as a condition of parole.” (Id.)

        As Magistrate Judge Lee noted in her R&R, on July 31, 2014, Defendant signed advice-

 of-rights and waiver-and-consent forms. (Doc. 341, at 19.) The waiver form, which Defendant

 signed on July 31, 2014, specifically provides:

        I, Ray Arnold Foster, having [b]een informed of my constitutional right not to
        have a search of the premises [h]ereinafter mentioned without a search warrant
        and of my right to refuse consent to such a search, hereby waive this right and
        authorize Bryan Freeman, Clay Moore officers of the 10th Judicial District Drug
        Task Force to conduct a complete search of my residence located at: 410 Thacker
        Lane, Etowah, TN[.] These officers are authorized by me to take from my
        premises any letters, papers, materials or other property which they may desire.
        This written permission is being given by me to the above named person[s]
        voluntarily and [w]ithout threats or promises of any kind.

 (Ex. 2 to Mot. to Suppress Hearing.)

        In this case, the mere presence of Defendant’s parole officer does not make his consent to

 search any less voluntary, especially considering that he executed a consent-to-search form

 specifically acknowledging that he had been informed of his rights and that he was giving

 permission to search “voluntarily and [w]ithout threats or promises of any kind.” There is

 nothing in the record to suggest that Defendant’s consent was not voluntary or that he was

 threatened or coerced into signing the consent-to-search form. Accordingly, because the Court

 agrees with Magistrate Judge Lee’s well-reasoned analysis, Defendant’s objections to the R&R

 as to the voluntariness of his consent to search his property will be OVERRULED.

                B. The Scope of Defendant’s Consent to Search

        Defendant next objects to Magistrate Judge Lee’s finding that law enforcement did not

 exceed the permissible scope of his consent to search his residence. Specifically, Defendant


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 argues that, even if he gave law enforcement consent to search his residence, his consent to

 search did not extend to the camper and truck parked at his residence.

        In support of this argument, Defendant argues United States v. Zavala, 541 F.3d 562 (5th

 Cir. 2008) is instructive. In Zavala, the United States Court of Appeals for the Fifth Circuit

 reversed a district court’s denial of a defendant’s motion to suppress, holding that it was not

 objectively reasonable for an officer to believe he had consent to search cell phones recovered

 from the defendant’s person based on the defendant’s consent to search his vehicle. Id. at 576.

 In making this determination, the court of appeals explained that “[g]iven that [defendant’s]

 phones were immediately removed from his person and placed on the roof of the vehicle, it was

 not objectively reasonable to understand his consent to search the car as consent to search the

 phones.”3 Id. at 571, 576.

        The Court finds Zavala distinguishable and of limited utility as it relates to the present

 case. Unlike the officer in Zavala, who only had oral consent to search the defendant’s vehicle,

 law enforcement officers in this case conducted a search of Defendant’s property based on a

 written and signed consent form executed by Defendant. The consent form Defendant executed

 gave law enforcement consent to perform a “complete search” of his “residence,” and authorized

 law enforcement to take from the “premises any letters, papers, materials or other property which

 they may desire.” Although the language utilized in the consent form is somewhat imprecise, its

 reference to Defendant’s “premises” and authorization of a “complete search” makes it

 objectively reasonable for law enforcement to have believed that Defendant’s consent included

 the truck and camper located on the “premises,” even though those vehicles were not located



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  The court of appeals further relied on Fifth Circuit precedent holding that where a person
 consents to a search of his vehicle, the consent does not necessarily extend to a search of his
 person. Id. at 576 (citing United States v. Johnson, 462 F.3d 399 (5th Cir. 2005)).


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 within the walls Defendant claims constitute his “residence.” Also indicative of the objective

 reasonableness of the search is that at no point during the search did Defendant object to the

 search of the truck and camper, clarify the scope of his consent, or withdraw his consent to

 search. See United States v. Lucas, 640 F.3d 168, 177–78 (6th Cir. 2011).4 Considering the

 totality of the circumstances, the Court agrees with Magistrate Judge Lee’s determination that it

 was objectively reasonable for law enforcement officers to believe that Defendant’s consent to

 search included consent to search the camper and truck. Accordingly, Defendant’s objections as

 to the scope of his consent to search will be OVERRULED.5

                C. Defendant’s Statements to Law Enforcement

        Finally, Defendant objects to Magistrate Judge Lee’s finding that his incriminating

 statements to law enforcement were made voluntarily. Defendant argues his statements to law

 enforcement were not voluntary because: (1) he was under the influence of methamphetamine

 when he made the statements; (2) law enforcement coerced his statements by bringing his parole
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   Defendant argues Magistrate Judge Lee’s reliance on Lucas is misplaced because that case
 involved law enforcement’s search of a laptop computer that was located within a residence that
 law enforcement had obtained consent to search. (Doc. 350, at 6.) Defendant attempts to
 distinguish Lucas from the present situation based on the fact that his truck and camper were
 located outside his residence. (Id.) Although factually distinguishable from the present case,
 Lucas’s holding that a defendant’s failure to object to the scope of a search at the time the search
 is conducted is an indication that the defendant believes the locations searched fall within the
 scope of the previously given consent is nonetheless applicable here.
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   Additionally, Magistrate Judge Lee found that, even if evidence obtained from the truck and the
 camper was improperly obtained, it still would have been inevitably discovered through lawful
 independent means—namely, through a parole search which Defendant previously agreed to as
 part of his parole conditions. (Doc. 341, at 25.) As referenced in Magistrate Judge Lee’s R&R,
 Task Force Agent Moore testified that “the whole property could be searched according to the
 terms of Defendant’s parole agreement,” and Defendant acknowledged that “he had a parole
 contract that required him to submit to parole searches.” (Id. at 5, 10.) Defendant did not object
 to these facts as set forth in Magistrate Judge Lee’s R&R. As such, the testimony elicited at the
 suppression hearing indicates that, even if the scope of Defendant’s consent to search did not
 include the camper and truck, the camper and truck still could have been searched pursuant to
 Defendant’s parole agreement. This serves as an additional independent basis for overruling
 Defendant’s objections as to the scope of his consent.


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 officer to his residence on July 31, 2014, and threatening to call the Tennessee Department of

 Child Services; and (3) law enforcement threatened seizure of his pickup truck. (Doc. 350, at 7–

 10.)

        As an initial matter, the Court agrees with Magistrate Judge Lee’s finding that Defendant

 was not subject to a custodial interrogation or interview on July 31, 2014, or on February 5,

 2015. As such, Defendant’s statements to law enforcement were not obtained in violation of the

 procedural safeguards established by Miranda v. Arizona, 384 U.S. 436 (1966). Thus, it is

 unnecessary to determine whether Defendant’s waivers of his Miranda rights were voluntary or

 whether law enforcement improperly coerced his statements.6

        Nonetheless, even if Defendant’s statements on July 31, 2014, and February 5, 2015,

 were considered to have been made in the context of a custodial interview, the Court would still

 adopt Magistrate Judge Lee’s finding that Defendant’s waivers of his Miranda rights were made

 voluntarily. As Magistrate Judge Lee explained in her R&R, she found the testimony of Task

 Force Agent Moore and Special Agent Freeman far more credible than Defendant’s testimony

 and, on that basis, found there was no evidence that these officers knew of or took advantage of

 Defendant’s supposed weakened mental state brought on by his methamphetamine use. (Doc.

 341, at 21.) Moreover, as Magistrate Judge Lee explained, there was “little” evidence in the

 record to “support [Defendant’s] claim of coercion.” (Id. at 22.) As it relates to his statements

 on July 31, 2014, Magistrate Judge Lee noted that any statement made by Officer Cherry

 threatening to call the Department of Child Services was made long after Defendant made

 incriminating statements to law enforcement. Additionally, the mere presence of Defendant’s



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   Defendant does not object to Magistrate Judge Lee’s finding that his statements to law
 enforcement on July 31, 2014, and February 5, 2015, were not made in the context of a custodial
 interrogation.


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 parole officer on July 31, 2014, does not render Defendant’s statement to law enforcement

 coerced. It does not necessarily follow that because Plaintiff subjectively believed he may be

 arrested based on the presence of his parole officer, the parole officer’s presence was

 “objectively improper” and coercive, especially because there is nothing in the record suggesting

 that law enforcement ever actually threatened to arrest Defendant on July 31, 2014. See United

 States v. Crowder, 62 F.2d 782, 787 (6th Cir. 1995) (holding that a defendant’s subjective belief

 his girlfriend was being arrested was insufficient to show his statements were coerced by law

 enforcement when police did not actually threaten to arrest defendant’s girlfriend).

        As it relates to Defendant’s statements to law enforcement on February 5, 2015, the fact

 that Defendant received a notice of seizure of his pickup truck does not qualify as improper

 coercion. Special Agent Freeman, one of the officers who met with Defendant on February 5,

 2015, specifically testified that he did not have any involvement in issuance of the truck seizure

 notice or causing the truck seizure notice to be issued. Magistrate Judge Lee found Special

 Agent Freeman’s testimony credible and concluded that there was not any evidence in the record

 to suggest that law enforcement improperly coerced Defendant’s incriminating statements on

 February 5, 2015, and the Court sees no reason to reject Magistrate Judge Lee’s finding.

        Unlike his statements to law enforcement on July 31, 2014, and February 5, 2015,

 Defendant’s statements to law enforcement on September 9, 2015, were made in the context of a

 custodial interrogation. Defendant’s objections to the R&R, however, fail to identify any

 coercive conduct on the part of law enforcement as it relates to obtaining Defendant’s waiver of

 his Miranda rights on that date. Additionally, Magistrate Judge Lee considered Defendant’s

 testimony regarding his drug use and concluded that his methamphetamine use did not prevent a

 voluntary, knowing, and intelligent waiver of his Miranda rights. Because the magistrate judge,




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 as the factfinder, has the best opportunity to observe and hear the witnesses and assess their

 demeanor, the Court finds Defendant’s objections fail to provide a sufficient basis to depart from

 Magistrate Judge Lee’s finding regarding the voluntariness of Defendant’s statements on

 September 9, 2015. Moss, 286 F.3d at 868.

        Accordingly, Defendant’s objections as to the admissibility of his statements to law

 enforcement are OVERRULED.

 IV.    CONCLUSION

        For the reasons stated herein, Defendant’s objections to the R&R (Doc. 350) are

 OVERRULED. The Court ACCEPTS and ADOPTS the R&R (Doc. 341) and DENIES

 Defendant’s motion to suppress (Doc. 139).

        SO ORDERED.


                                               /s/Travis R. McDonough
                                               TRAVIS R. MCDONOUGH
                                               UNITED STATES DISTRICT JUDGE




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